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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


 UNITED STATES OF AMERICA              :
                                       :
       v.                              :        No. 3:19-cr-00167 (VLB)
                                       :
 TERRANCE SAUNDERS                     :
     Defendant.                        :        NOVEMBER 5, 2020
                                       :
                                       :
                                       :
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                                       :

                    MEMORANDUM OF DECISION DENYING
            DEFENDANT’S SECOND MOTION FOR RELEASE, [ECF NO. 75]

      Before the Court is Defendant Terrance Saunders’ (“Defendant”) Second

Emergency Motion for Compassionate Release. [ECF No. 75]. Defendant seeks

release from incarceration to home confinement based on new information about

his cardiac, and other, medical problems, as well as his risk of complications

should he contract COVID-19 for a second time while incarcerated at FCI Danbury.

For the reasons set forth below, the Court DENIES Defendant’s motion.


                                   Background


      On December 26, 2018, United States Magistrate Judge Sarah A. L. Merriam

signed a Criminal Complaint against Defendant Terrance Saunders for Possession

with Intent to Distribute and Distribution of Narcotics and Conspiracy to Distribute

Narcotics in violation of 21 U.S.C. §§ 841(a)(1) and 846. [ECF No. 1 at 1]. Mr.

Saunders was arrested the next day, on December 27, 2018.
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      Thereafter, on June 24, 2019, Mr. Saunders waived indictment and pled guilty

to a one-count information charging him with possession with intent to distribute

and distribution of heroin, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C).

[ECF Nos. 32, 33]. In his petition to plead guilty, Mr. Saunders hand wrote: “From

March 2016 until December 2018, I possessed heroin. I knew I possessed heroin.

I gave the heroin to other people.” [ECF No. 35 at 1-2].


      In preparation for sentencing, the Probation Office interviewed Mr. Saunders

and filed draft and final pre-sentence investigation reports (“PSR”). [ECF Nos. 47,

48]. In the final PSR, Probation recounted that the investigation into Mr. Saunders’

drug distribution activities commenced when a 45-year-old woman died of a heroin

overdose in Shelton, Connecticut. [ECF No. 48 ¶ 7]. The investigation revealed

that the day prior to her death, the victim had communicated with Mr. Saunders

seven times via cellular telephone. Id. ¶ 9.


      Mr. Saunders’ offense conduct involved at least 400, but less than 700,

grams of heroin, giving him a Base Offense Level of 26, which resulted in a Total

Offense Level of 23 after three levels were subtracted for acceptance of

responsibility pursuant to his guilty plea. Id. ¶¶ 18-27.


      Mr. Saunders’ criminal history included two state convictions for drug

distribution, for which he was sentenced in August 2013 to concurrent sentences

of eight years’ imprisonment, with 30 months’ imprisonment to serve, and three

years’ probation. Id. ¶¶ 31, 32. These convictions, plus one for reckless driving

and one for failure to appear, resulted in a criminal history score of six, with two


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points added since the instant offense was committed while on probation from his

two prior state court drug distribution convictions, for a total of eight, resulting in

his placement in Criminal History Category IV. Id. ¶¶ 35-37. A Total Offense Level

of 23 and Criminal History Category IV resulted in a Sentencing Guideline Range

of 70 to 87 months’ imprisonment. Id. ¶ 60.


      The PSR also revealed that Mr. Saunders reportedly suffered from high blood

pressure, but “[h]e confirmed that the condition is well controlled by . . .

medication.”    Id. ¶ 47.   “Mr. Saunders [also] stated he underwent a cardiac

catheterization at Waterbury Hospital in 2017, but no heart disease was detected.”

Id.


      The Probation Officer reported that Mr. Saunders had been referred to the

Midwestern Connecticut Council of Alcoholism, Inc. (“MCCA”)1 in Waterbury for an

evaluation on June 11, 2019 in connection with the current case. Id. ¶ 49b. Records

received by Probation indicated that when MCCA questioned Mr. Saunders about

“social or leisure activities,” Mr. Saunders stated, ‘My hobby was selling drugs.’”

Id.


      On November 22, 2019, the Court sentenced Mr. Saunders to 79 months’

imprisonment and three years’ supervised release.           [ECF Nos. 57, 60].     Mr.

Saunders has been incarcerated since that date and has served approximately

eleven months of his 79-month sentence.



1 MCCA is “is the primary provider of substance abuse prevention, evaluation and
treatment services in the greater Danbury area,” with treatment centers throughout
Connecticut. See https://mccaonline.com/about-us/.
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      On June 9, 2020, Mr. Saunders filed a Motion for Compassionate Relief pro

se. [ECF No. 65]. In his motion, Mr. Saunders explained that he had already

contracted COVID-19, that he was placed in quarantine by himself as a result and

was housed in a special segregated unit for inmates who had contracted COVID.

Id. at 5. Contrary to his representations to the Probation Officer conducting his

PSR investigation, he claimed in his motion that he suffered from hypertension,

sleep apnea, high cholesterol and an irregular heartbeat.       On that basis, he

contended that these conditions put him at higher risk for developing serious

complications should he again contract COVID-19 while incarcerated, and that this

scenario, plus his conviction being only for a “nonviolent drug offense,”

constituted extraordinary and compelling reasons warranting his immediate

release from prison. Id. at 6-8. Mr. Saunders also claimed that he had satisfied his

exhaustion requirements because he filed a request for release with the warden at

Danbury on May 12, 2020, and the warden denied it three days later, on May 15,

2020. Id. at 5 n.1.


      On June 11, 2020, Attorney Allison Murray Near, of the Office of the Federal

Defender, appeared for Mr. Saunders. [ECF No. 66].


      On June 15, 2020, the Government opposed Mr. Saunders’ motion for

release, arguing that:


      Saunders was sentenced to 79 months of imprisonment in this case
      because he committed a serious drug offense, and because his
      criminal record dates back 8 years and includes offenses for the same
      conduct. See Presentence Report (“PSR”), ¶¶ 31-32. He was
      sentenced to eight years in prison with 30 months to serve for these
      prior drug offenses and was still undeterred. Id. Saunders was

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         dealing heroin to a customer base over a prolonged period of time
         while on state probation for the identical conduct. This included
         numerous controlled purchases by law enforcement. Moreover, the
         quantity of heroin he distributed was significant.
[ECF No. 69 at 7]. The Government also noted Mr. Saunders’ description of the

instant case as a “nonviolent drug offense”:


         To make matters worse, and despite the defendant’s characterization
         that his conviction is nonviolent, as outlined in the PSR and the
         government’s sentencing memorandum, the defendant’s conduct
         resulted in the death of a 45-year old woman. PSR ¶¶ 7-12. Saunders
         still fails to appreciate the harm his conduct caused to the community
         and the victim’s family in this matter. As I’m sure the Court recalls,
         the victim impact in this matter was extremely heartbreaking. Plainly
         put, Saunders is in jail now because he is a repeat offender who is a
         danger to the community, and he has been a danger to the community
         for the past eight years. He cannot meet his burden of establishing
         otherwise, and he is not, therefore, a suitable candidate for release at
         this time.
Id.


         The Government also noted that the family of the 45-year-old woman who

died following ingestion of heroin sold to her by Mr. Saunders “adamantly

oppose[d] the defendant’s release.” Id. at 1. The Government took no position

regarding whether Mr. Saunders presented “extraordinary and compelling

reasons” in support of his motion, citing “caselaw [that] is developing rapidly,”

and deferred to the Court’s discretion. Id. at 6.


         On June 18, 2020, Mr. Saunders, through counsel, filed a Reply to the

Government’s Opposition to Mr. Saunders’ Motion for Compassionate Release.

[ECF No. 70]. Mr. Saunders appended a letter to the Court to his Reply Brief,

expressing regret for his actions as regards the instant matter. Id. at 2; [ECF No.

70-1].    He also argued that “extraordinary and compelling reasons” existed

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warranting his release, noting that numerous courts in this District had released

inmates with pre-existing medical conditions that might make them vulnerable to a

COVID infection in prison, even for inmates who had served little time on their

sentence. Id. at 3-5 (citing cases). Regarding his having already contracted COVID,

Mr. Saunders stated that “his risk of reinfection or of not receiving appropriate

follow up care puts him at significant risk of long-term complications, reinfection

or even death,” and, therefore, “prison is the last place he should be.” Id. at 5. He

had a risk of reinfection that could be significant, he argued, citing a World Health

Organization press release stating that there is “currently no evidence that people

who have recovered from COVID-19 and have antibodies are protected from a

second infection” and a Journal of the American Medical Association article stating

that “in early testing, not all individuals infected with COVID-19 develop

antibodies.” Id. at 8-9.


      Mr. Saunders also argued that a sentence reduction was warranted because

(1) he followed the rules on pre-sentencing release and had remained incident-free

in prison, (2) he had a good home confinement plan living with his sister, Tamika

Dawkins, and (3) his father was very ill with Stage IV pancreatic cancer. Id. at 11-

13.


      On June 24, 2020, the Court denied Mr. Saunders’ Motion for Release. [ECF

No. 74].    The Court found that Mr. Saunders had validly exhausted his

administrative requirements prior to filing suit, as required, but that the mere risk

of COVID re-infection and its potential effects on him were speculative and

therefore Mr. Saunders had failed to clear the extraordinary and compelling

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circumstances hurdle.        Id. at 9-10.   “This [wa]s especially so given that Mr.

Saunders ha[d] already successfully fought off the COVID-19 virus; he apparently

ha[d] sufficient biological resources to weather the COVID-19 virus with only mild

symptoms, which augers well for his health should he re-contract the virus.” Id.

Moreover, the Court found that Mr. Saunders was “a persistent, unremitting risk to

the community” in that “history suggests that if the Court were to release him, he

would resort to his old ‘hobby’ of distributing narcotics, to potentially, once again,

lethal effect.” Id. at 10.


       On June 3, 2020, prior to the Court’s denial of Mr. Saunders’ first release

motion, Mr. Saunders filed a renewed request for compassionate release with the

warden at Danbury. [ECF No. 75-1]. In the request, Mr. Saunders argued that the

Warden had “overlooked [his] chronic medical care, pre-existing health conditions

(hypertension – high blood pressure, high cholesterol, and sleep apnea), including

the fact that I’ve already been exposed to the coronavirus and tested positive for

COVID-19.” Id. at 2.


       On September 18, 2020, Warden Easter of Danbury denied Mr. Saunders’

renewed request, noting that “[y]our medical records reflect you are diagnosed

with hypertension, heart disease, and a BMI [body mass index] of 46.2%,” but

finding that “[y]our conditions are stable with the use of prescribed medication and

can be managed at the facility.” Id. at 3. The warden also noted “[y]our current

conviction resulting in the death of a victim . . . as well as the time remaining on

your sentence” as reasons that it was “inappropriate” for Mr. Saunders to be

released “for placement on home confinement.” Id.

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      On October 19, 2020, Mr. Saunders, through counsel, filed a second Motion

for Release. [ECF No. 75]. The Government opposed the Motion on October 26,

2020, [ECF No. 79], and Mr. Saunders filed a Reply to the Government’s Opposition

on October 27, 2020. [ECF No.81].


                                  Legal Standard


      “Federal courts are forbidden, as a general matter, to ‘modify a term of

imprisonment once it has been imposed’; but the rule of finality is subject to a few

narrow exceptions.” Freeman v. United States, 564 U.S. 522, 526 (2011) (citations

omitted) (quoting 18 U.S.C. § 3582(c)). The statute providing for the finality of a

criminal judgment contains a narrow exception to provide for re-sentencing for

compassionate release. 18 U.S.C. § 3582(c)(1)(A).


      Section 3582(c)(1)(A) authorizes courts to modify terms of imprisonment as

follows:


      [T]he court ... upon motion of the defendant after the defendant has
      fully exhausted all administrative rights to appeal a failure of the
      Bureau of Prisons to bring a motion on the defendant’s behalf or the
      lapse of 30 days from the receipt of such a request by the warden of
      the defendant’s facility, whichever is earlier, may reduce the term of
      imprisonment (and may impose a term of probation or supervised
      release with or without conditions that does not exceed the unserved
      portion of the original term of imprisonment), after considering the
      factors set forth in section 3553(a) to the extent that they are
      applicable, if it finds that ... extraordinary and compelling reasons
      warrant such a reduction ... and that such a reduction is consistent
      with applicable policy statements issued by the Sentencing
      Commission[.]
      The First Step Act of 2018 amended the procedural requirements for bringing

a motion for resentencing to provide compassionate release. First Step Act of


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2018, Section 603(b), Pub. L. 115-391, 132 Stat. 5194 (2018) (amending 18 U.S.C. §

3582(c)(1)(A)). Previously, only the Bureau of Prisons (“BOP”) could move for

compassionate release and such motions were rarely filed.         United States v.

Brooker, 976 F.3d 228, 231-32 (2d Cir. 2020). The First Step Act amendments were

intended to address past inaction by the BOP by removing the BOP as the sole

arbiter of compassionate release, while still permitting the BOP to weigh in on a

defendant’s request via the statute’s exhaustion of administrative remedies

requirement. See id. at 4; see also United States v. Gamble, No. 3:18-cr-00022-4

(VLB), 2020 WL 1955338, at *3 (D. Conn. Apr. 23, 2020) (explaining the policy

purpose behind the exhaustion requirement in this context).


      Recently, in Brooker, the Second Circuit held that since the BOP no longer

has exclusive authority to bring a motion for compassionate release, district courts

have the discretion to determine what constitutes “extraordinary and compelling”

circumstances outside of the outdated U.S. Sentencing Commission policy

statements when the defendant moves for compassionate release. In short, the

statute only requires courts to consider “applicable” statements issued by the U.S.

Sentencing Commission and the relevant policy statement, U.S.S.G. § 1B1.13, is no

longer “applicable” because the policy statement refers exclusively to a motion

brought by the Director of the BOP. Brooker, 976 F.3d at 235-36. In other words,

“[w]hen the BOP fails to act, Congress made the courts the decision maker as to

compassionate release.” Id. at 235. Therefore, courts may consider “…the full

slate of extraordinary and compelling reasons that an imprisoned person might




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bring before them in motions for compassionate release,” and not just those

delineated by the U.S. Sentencing Commission’s policy statement. Id. at 237.


      Consequently, the Court may grant a Defendant’s motion for compassionate

release if: (1) the Defendant has fully exhausted his administrative remedies or 30

days have passed from receipt of his request by the Warden, and (2) the Court finds

that, after considering the Section 3553(a) factors, that “extraordinary and

compelling reasons warrant” a reduction of his term of imprisonment.


      As to what constitutes “extraordinary and compelling” circumstances, this

Court and others have recognized that an inmate’s especially heightened risk of

infection and risk of developing severe complications from COVID-19 based on

their specific medical history may constitute “extraordinary and compelling”

reasons to grant compassionate release, often in combination with other factors.

See, e.g. United States v. Jepsen, 451 F. Supp. 3d 242, 245-47 (D. Conn. 2020)

(granting motion for compassionate release when defendant suffered from a

compromised immune system and defendant had less than eight weeks remaining

on sentence); United States v. Miller, No. 3:15-cr-00132-2 (VLB), 2020 WL 3187348,

at *5 (D. Conn. June 15, 2020) (granting motion for compassionate release for

severely ill defendant with less than three months remaining on sentence).


      Courts considering defendants’ medical vulnerability from COVID-19

ordinarily look to the CDC’s guidance on at-risk health populations. See United

States v. Rivera, No. 3:13-cr-00071-1 (VLB), 2020 WL 3186539, at *4-5 (D. Conn. June

15, 2020); see also, e.g., United States v. Adams, No. 3:16-cr-00086 (VLB), 2020 WL


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3026458, at *2 (D. Conn. June 4, 2020); United States v. McCarthy, No. 3:17-cr-00230

(JCH), 2020 WL 1698732, at *5 (D. Conn. Apr. 8, 2020). In determining whether a

defendant’s medical vulnerability to the virus constitutes “extraordinary and

compelling” reasons for re-sentencing, courts have considered a multitude of

factors in factually intensive inquiries, including: defendants’ age, the severity and

documented history of their health conditions, defendants’ history of managing

those conditions in prison, the proliferation and status of infection at defendants’

facilities, and the proportion of the term of incarceration that has been served.

United States v. Brady, No. 1:18-cr-00316-2 (PAC), 2020 WL 2512100, at *3 (S.D.N.Y.

May 15, 2020) (citations omitted).


      A motion for compassionate release is not an appropriate safety valve to

ameliorate the immediate risk to inmates’ health and safety posed by the pandemic.

Congress empowered the BOP with the ability to expand the use of home

confinement pursuant to 18 U.S.C. § 3624(c)(2). CARES Act, Pub. L. No. 116-136

(2020). The BOP is also empowered to grant temporary furloughs. 18 U.S.C. § 3622.

In contrast, if granted by the sentencing court, a motion for compassionate release

results in a new judgment, with a now-reduced stated term of incarceration. See,

e.g. Jepsen, 3:19-cr-00073-1 (VLB), [ECF No. 42] (amended criminal judgment

following order granting unopposed motion for compassionate release).


      The defendant bears the burden of showing that he is entitled to a sentence

reduction. United States v. Gagne, 451 F. Supp. 3d 230, 234 (D. Conn. 2020) (citing

United States v. Ebbers, 432 F. Supp. 3d 421, 426-27 (S.D.N.Y. 2020)).



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                                     Discussion


       It is once again undisputed that Mr. Saunders has satisfied the

administrative exhaustion requirement for filing a motion for compassionate

release. As noted, he filed a renewed request for release with the warden at

Danbury on June 3, 2020, and the warden denied it on September 18, 2020. [ECF

No. 75-1 at 3-4]. Mr. Saunders has, therefore, satisfied the exhaustion requirement.

However, the Court DENIES Mr. Saunders’ second motion for compassionate

release for the following reasons.


       Mr. Saunders argues that he should be released because his “medical

conditions have worsened,” citing a one-page medical opinion letter written by a

doctor from Yale New Haven Hospital. [ECF Nos. 75 at 1, 77-1 at 2]. This letter

opines, after a review of Mr. Saunders’ medical records, that he suffers from

“congestive heart failure,” among other ailments, and notes two instances in the

medical records of events that were “not standard care.” [ECF No. 77-1 at 2]. Mr.

Saunders argues that, making things worse, “[h]e also faces the possibility of

reinfection with Covid, which would be devastating given his constellation of risk

factors,” citing an October 12, 2020 NPR online article reporting that a Nevada man

has been confirmed, for the first time in the United States, to have a COVID re-

infection. [ECF No. 75 at 5 n.3]. This possibility combined with Mr. Saunders’

medical condition “constitute[s] extraordinary and compelling circumstances

warranting release so that he can receive proper care in the community.” [ECF No.

75 at 9].



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      The Government opposes Mr. Saunders’ motion, noting that even though the

45-year-old woman’s family no longer opposes Mr. Saunders’ release, he “is not a

suitable candidate for release because he is dangerous and poses a substantial

risk to the public,” citing the deceased victim in this case and noting that he was

“arrested for the instant offense while on probation for two State of Connecticut

convictions for distribution of narcotics.” [ECF No. 79 at 1-2]. The Government

takes no position on whether Mr. Saunders’ medical conditions constitute

extraordinary and compelling circumstances, citing “a divergence of views within

the district on this issue,” and that “caselaw is still developing rapidly.” Id. at 6-7.

But the Government argues that releasing Mr. Saunders would not be consistent

with the applicable sentencing factors because “Saunders has spent the better part

of his adult life trafficking narcotics without any real consequences. The [original]

sentence, therefore, was intended to carry an appropriate deterrent effect and

promote respect for the law. Most importantly, the sentence was intended to

protect the public from future crimes of the defendant.” Id. at 9. The Government

sums up by arguing that “[t]he only time [Mr.] Saunders is not a danger to the

community is when he is incapacitated through a sentence of imprisonment. As

such, Saunders cannot meet his burden of establishing otherwise, and he is not,

therefore, a suitable candidate for release at this time,” id. at 8, especially given

that he has only served 11 months of his 79 months’ sentence. Id. at 10.


      Mr. Saunders replies that while on release he resided with his sister, who

promises to take him in if released now, and that he “was fully compliant with the

conditions of his release, maintained stable employment and housing, and


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maintained regular contact with his United States Probation Officer.” [ECF No. 81

at 5]. Thus, Mr. Saunders argues, the Government’s argument that Mr. Saunders

must be incarcerated to mitigate his threat to the public is incorrect. In addition,

Mr. Saunders notes the harsher than normal conditions of his confinement,

including as they did the COVID pandemic, which courts have noted has made

incarceration more of a burden than it was previously. Id. (citing cases). Mr.

Saunders also cites his “strong reentry plan” and various measures the Court can

take to mitigate the threat he poses to society, and “asks th[e] Court to give him a

chance to demonstrate he can succeed while securing appropriate medical care.”

Id. at 7-9.


       As the Court found in its first Order denying Mr. Saunders’ motion for

release, Mr. Saunders has already demonstrated that the COVID-19 virus is not

lethal for him, as he successfully weathered a previous infection. Mr. Saunders

has also put forward no evidence that he will or is likely to contract the virus again,

or if he did that his condition would be worse now than it was when he contracted

the virus previously. The Court notes that at present there are four active positive

inmate COVID cases at Danbury out of 887 total inmates, for an active infection rate

of only 0.45 percent. https://www.bop.gov/coronavirus/index.jsp. In addition, Mr.

Saunders’ cited NPR article, which notes that exactly one case exists in the United

States of someone being re-infected with the COVID-19 virus, seems to indicate

that while COVID re-infection is at least a mathematical possibility, the

phenomenon is not widespread.




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      Moreover, the Court finds that Mr. Saunders’ medical condition, while not

optimal, is not excessively worse than many other individuals incarcerated in the

federal prison system. The Court finds Mr. Saunders’ doctor review of his medical

records lacking in clarity; in particular, the EKG result where a reviewing doctor

scratched out a possible finding of ischemia, which is characterized as “not

standard care,” could have been part of a proper review of Mr. Saunders’ EKG

results based on some other test that the reviewing doctor ran or was aware of, or

for some other reason that the Court is unaware of. In short, the Court does not

know what medical care being described as “not standard” means in the prison

context, and the warden at Danbury states definitively in his release denial that Mr.

Saunders’ medical conditions “are stable with the use of prescribed medication

and can be managed at the facility,” a statement the Court has little reason to

disagree with. [ECF No. 75-1 at 3].


      In sum, the Court finds that there are not extraordinary and compelling

circumstances warranting release in this case given the speculative nature of the

apparently remote possibility of Mr. Saunders being re-infected with the COVID-19

virus and its resulting severity, and the lack of evidence demonstrating that

Danbury is a risky place for Mr. Saunders to be housed. Essentially, Mr. Saunders

seeks release so that he can pursue better medical care. See [ECF Nos. 75 at 9 (Mr.

Saunders seeks “release so that he can receive proper care in the community”), 81

at 9 (release sought so as to “secur[e] appropriate medical care.”)]. The Court is

not inclined to reduce Mr. Saunders’ sentence from 79 months’ incarceration to




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home confinement because he takes issue with the Bureau of Prisons’ health care

system.


      Moreover, as the Court found in its Order denying Mr. Saunders’ first request

for release, Mr. Saunders is a persistent, unremitting risk to the community. The

Court agrees with the Government that Mr. Saunders’ past actions are strong

evidence that incarceration is required to deter him from future drug distribution

activities. This is especially so given that Mr. Saunders has served only 11 months

of his 79 months’ sentence. In sum, the Court finds that the sentencing factors,

most importantly specific deterrence as to Mr. Saunders, and the resulting threat

to the community, strongly militate against his release.


                                   Conclusion


      For the reasons stated above, the Court DENIES Defendant’s Motion for

Release.


                                             IT IS SO ORDERED.

                                             ____/s/_________________
                                             Hon. Vanessa L. Bryant
                                             United States District Judge

Dated this day in Hartford, Connecticut: November 5, 2020




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